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                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,                )   Case No.
                                          )   COUNT 1:
                   Plaintiff,             )   UNLAWFULLY MAKING
                                          )   DESTRUCTIVE DEVICE
       vs.                                )     Vio. of 26 U.S.C. '' 5861(f) &
                                          )   5871
 BRANDON RAY SMITH,                       )
                                          )   COUNT 2:
                   Defendant.             )   UNLAWFUL POSSESSION OF
                                          )   UNREGISTERED DESTRUCTIVE
                                          )   DEVICE
                                          )      Vio. of 26 U.S.C. '' 5861(d) &
 __________________________________       )   5871

                                INDICTMENT

      The Grand Jury charges that:

                                   COUNT 1

      1.     On or about February 28, 2014, at or near Fairbanks in the

District of Alaska, BRANDON RAY SMITH did unlawfully make a destructive

device in violation of the provisions of Title 26, United States Code, section
5822 requiring prior application, approval and payment of the applicable tax.

        All of which is in violation of Title 26, United States Code, '' 5861(f) &

5871.

                                        COUNT 2

        2.    On or about February 28, 2014, at or near Fairbanks in the

District of Alaska, BRANDON RAY SMITH did unlawfully possess a

destructive device not registered to him in the National Firearms Registration

and Transfer Record.

        All of which is in violation of Title 26, United States Code, '' 5861(d) &

5871.

        A TRUE BILL.


                                             s/Grand Jury Foreperson
                                             GRAND JURY FOREPERSON


s/Audrey J. Renschen for:
STEPHEN COOPER
Assistant United States Attorney



s/Karen L. Loeffler
KAREN L. LOEFFLER
United States Attorney
United States of America


DATE:         11/18/2015
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